 Case 1:12-cr-00003-AJT Document 221 Filed 08/24/15 Page 1 of 4 PageID# 2681




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

UNITED STATES OF AMERICA                                 )
                                                         )
                v.                                       )          The Honorable Liam O’Grady
                                                         )
KIM DOTCOM, et al.,                                      )
                                                         )          Criminal No. 1:12-CR-3
        Defendants                                       )
                                                         )

   MOTION OF THE ROTHKEN LAW FIRM AND CRAIG C. REILLY, ESQ. FOR
   LEAVE TO ENTER LIMITED AND SPECIAL APPEARANCE ON BEHALF OF
   MEGAUPLOAD LIMITED TO FILE [PROPOSED] RESPONSE OF DEFENDANT
   MEGAUPLOAD LTD SUPPORTING AND SUPPLEMENTING THE RENEWED
    MOTION FOR PROTECTIVE ORDER BY NON-PARTY QTS/CARPATHIA
          HOSTING, INC. RE MEGAUPLOAD SERVER EVIDENCE

        Non-parties the Rothken Law Firm and Craig C. Reilly, Esq. (“Movants”), on their own

behalf, respectfully move this Court for leave to enter limited and special appearances on behalf of

Defendant Megaupload Limited (“Megaupload”) for the purpose of filing the [Proposed] Response

Of Defendant Megaupload Ltd Supporting And Supplementing The Renewed Motion For

Protective Order By Non-Party QTS/Carpathia Hosting, Inc. Re Megaupload Server Evidence. A

copy of the brief that Movants propose to file and argue pursuant to their limited and special

appearances is appended hereto for the benefit of the parties and the Court. In the event that the

requested leave is granted, Movants respectfully request that the proposed brief be accepted as filed

nunc pro tunc as of this date.

        The grounds for this Court to permit a limited appearance have already been briefed and need

not be belabored. Indeed, this Court has already permitted the Rothken Law Firm and Quinn

Emanuel Urquhart & Sullivan LLP to appear on a limited basis. See April 13 Hrg. Tr. (Dkt. 84) at

27:21-23 (“THE COURT: I am going to allow you to appear limited, for purposes of this hearing
 Case 1:12-cr-00003-AJT Document 221 Filed 08/24/15 Page 2 of 4 PageID# 2682




today on a limited basis. I won’t hold you in the case after today.”). For present purposes, Movants

simply incorporate by reference the prior briefing by Quinn Emanuel Urquhart & Sullivan LLP and

the Rothken Law Firm on this point, see Memo. in Support of Mot. for Leave to Enter Limited

Appearance (Dkt. 60); Rebuttal Memo. in Support of Mot. for Leave to Enter Limited

Appearance (Dkt. 79); Mot. for Leave to Enter Limited and Special Appearances (Dkt. 96),

focusing herein only on considerations that specially support grant of the requested leave at this

time.

          Since the instant “renewed” motion for protective order filed by QTS, successor in interest to

Carpathia, addresses the same issues for which leave to specially appear was granted on the original

motion, Movants respectfully submit that the equities warrant leave to specially appear on QTS’

motion.

          Given that (1) Megaupload is the proper entity under state and federal privacy laws to access

the data on Megaupload’s servers; (2) Megaupload is best positioned, with respect to technology,

knowledge-base and otherwise, to locate, access, and retrieve consumer data from servers in an

expeditious and cost-efficient manner; (3) issues of data preservation and consumer access may be

critically and inextricably bound up with Megaupload’s criminal defense and pending civil copyright

defenses, to the point of implicating due process rights; and (4) Megaupload’s seized assets may be

proposed as a means of funding consumer access and return of consumer property, again implicating

due process rights, Megaupload would respectfully request an opportunity to participate—as and if

the Court deems appropriate—in the renewed motion for protective order hearing. Movants

therefore respectfully request that the Court permit them to enter a limited and special appearance

on behalf of Megaupload for the sole purpose of filing the [Proposed] Response Of Defendant

Megaupload Ltd Supporting And Supplementing The Renewed Motion For Protective Order By

Non-Party QTS/Carpathia Hosting, Inc. Re Megaupload Server Evidence.


                                                   -2-
 Case 1:12-cr-00003-AJT Document 221 Filed 08/24/15 Page 3 of 4 PageID# 2683




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For the foregoing reasons, Movants respectfully request that the Court grant the undersigned leave to

appear on a limited and special basis in order to file the aforementioned brief.

                                                        Respectfully submitted,


                                                        /s/ Craig C. Reilly

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                                                  -3-
 Case 1:12-cr-00003-AJT Document 221 Filed 08/24/15 Page 4 of 4 PageID# 2684




                            CERTIFICATE OF SERVICE

                I hereby certify that on August 24, 2015, the foregoing MOTION OF THE
ROTHKEN LAW FIRM AND CRAIG C. REILLY, ESQ. FOR LEAVE TO ENTER LIMITED
AND SPECIAL APPEARANCE ON BEHALF OF MEGAUPLOAD LIMITED TO FILE
[PROPOSED] RESPONSE OF DEFENDANT MEGAUPLOAD LTD SUPPORTING AND
SUPPLEMENTING THE RENEWED MOTION FOR PROTECTIVE ORDER BY NON-
PARTY QTS/CARPATHIA HOSTING, INC. RE MEGAUPLOAD SERVER EVIDENCE, was
filed and served electronically by the Court’s CM/ECF system upon all registered users.

                                              /s/ Craig C. Reilly

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